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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:
                                                           Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,1                                        Case No. 20-10343 (LSS)

                    Debtors.                               (Jointly Administered)


                  DEBTORS’ NOTICE OF DEPOSITION OF JON CONTE

         PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26 and 30,

made applicable to the above-captioned proceeding by Federal Rules of Bankruptcy Procedure

7026, 7030, and 9014 and Rule 7030-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, Boy Scouts of America and

Delaware BSA, LLC (the “Debtors”), will take the deposition of Jon Conte. The deposition will

take place on February 25, 2022, at 11:30 a.m. (Eastern Time), via videoconference, or such

other date and location as the parties may agree. The deposition will take place before a notary

public or other officer authorized by law to administer oaths. The deposition will be recorded by

stenographic means, may be videotaped, and will continue from day to day until completed.

         PLEASE TAKE FURTHER NOTICE that:

         1.     The deposition will be conducted remotely, using videoconferencing technology

to be identified by White & Case LLP prior to the deposition;

         2.     The court reporter will report the deposition from a location separate from the

witness;

         3.     Counsel for the parties and their clients will be participating from various,

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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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separate locations;

        4.      The court reporter will administer the oath to the witness remotely;

        5.      The witness will be required to provide government-issued identification

satisfactory to the court reporter, and this identification must be legible on camera;

        6.      Each participating attorney may be visible to all other participants, and their

statements will be audible to all participants;

        7.      All exhibits will be provided simultaneously and electronically to the witness and

all participants;

        8.      The court reporter will record the testimony;

        9.      The deposition may be recorded electronically; and

        10.     Counsel for all parties will be required to stipulate on the record:

                a.     Their consent to this manner of deposition; and

                b.     Their waiver of any objection to this manner of deposition, including any

        objection to the admissibility of this testimony at any trial or hearing based on this

        manner of deposition.




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Dated: February 24, 2022

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– and –

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